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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT Cou T
                                                                     for the
                                                         Southern District of California

              In the Matter of the Search of                            )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                               Case No.
                                                                        )
                       Google, LLC                                      )
                 1600 Amphitheatre Parkway,
                  Mountain View, CA 94043
                                                                        )
                                                                        )                            l8MJ6337
                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A
located in the     ~~~~~~~-
                            Northern              District of   -~~~~~~~~~~~
                                                                            California           , there is now concealed (identify the
person or describe the property to be seized):

 See Attachment B

          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                 r!/ evidence of a crime;
                 r!/ contraband, fruits of crime, or other items illegally possessed;
                 ~property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
           Code Section                                                            Offense Description
       18 U.S.C. §§ 2252 & 2252A                   Certain activities relating to materials involving the sexual exploitation of minors
                                                   and child pornography
       18 U.S.C. § 2422(b)                         Coercion and enticement
          The application is based on these facts:
        See Attached

           ~ Continued on the attached sheet.
           0 Delayed notice of       days (give exact ending date if more than 30 days:                                  ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                            ~~~~·
                                                                            7                  A_pp/iCSigMture

                                                                                         Kayade Ereme , Special Agent HSI
                                                                                                Printed name and title

Sworn to before me and signed in my presence.




City and state: San Diego, CA                                                                  Hon. Jill L. Burkhardt
                                                                                                Printed name and title
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 1   AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
 2
 3         I, Special Agent Kayade Ereine, upon being duly sworn do hereby state tha
 4   the following is true to my knowledge and belief:
 5                                   INTRODUCTION
 6         1.     I am a Special Agent with the United States Department of Homelan
 7   Security (DHS), Immigration and Customs Enforcement (ICE), Homeland Securit
 8   Investigations (HSI) and have been so employed since April 2013. I am currentl
 9   assigned to the HSI Child Exploitation Group in San Diego, California. Fro
1O August 2014 until March 2018, I was assigned to the Deputy Special Agent i
11   Charge San Ysidro (DSAC San Ysidro Office) in San Diego, California where
12   specialized in narcotics and contraband smuggling investigations. I was assigned t
13   a narcotics smuggling unit known as the San Diego County Sheriffs Border Crim
14   Suppression Team.     My duties included investigating the illicit trafficking o
15   controlled substances into the United States of America while working
16   conjunction with the San Diego County Sheriffs Department. I was previous!
17   assigned to the Office of the Special Agent in Charge, Baltimore (SAC Baltimore)
18   where I worked with the Gang Unit and assisted in the investigation of
19   Racketeering Influenced and Corrupt Organization (RICO) investigation targetin
20   the MS-13 Street Gang and their affiliates.
21         2.     I graduated Magna Cum Laude from Bowie State University with
22   Bachelor of Science Degree in Criminal Justice. I am a graduate of the Crimina
23   Investigator Training Program administered by the Federal Law Enforcemen
24   Training Center (FLETC) located in Glynco, CA, as well as the HSI Special Agen
25   Training (HSISAT) program. Throughout my tenure with HSI, I have conducte
26   and/or participated in numerous investigations including narcotics, financial crimes,
27   and child pornography investigations. I have received specialized training i

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 1   conducting Internet investigations regarding the sexual exploitation of minors, chil
 2   pornography, and the preservation and review of computer related evidence. As pa
 3   of my current duties with the ICAC task force, I investigate criminal violation
 4   relating to child exploitation and child pornography, including violations pertainin
 5   to the illegal production, distribution, receipt, and possession of child pornography,
 6   in violation of 18 U.S.C. §§ 2252, 2252A, and 2422(b). Additionally, I have had th
 7   opportunity to observe and review many examples of child pornography (as define
 8   in 18 U.S.C. § 2256) in numerous forms of media including computer media, and
 9   have participated in the execution of numerous search and arrest warrants.
1O         3.     I make this affidavit in support of an application for a search warrant
11   under 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A) for Google Limited
12   Liability Corporation (LLC), (Google), to search the following Email Account, as
13   described in Attachment A, for items that constitute, evidence, fruits, and
14   instrumentalities of violations of federal law, namely 18 U.S.C. §§ 2252, 2252A,
15   and 2422(b ), as further described in Attachment B, for the period from January 1,
16   2017 to the present date:
17                a. emraldmonth@gmail.com (Target Account)
18         4.     The information set forth in this affidavit is based on my own personal
19   knowledge, knowledge obtained from other individuals during my participation in
20   this investigation, including other law enforcement officers, my review of
21   documents and computer records related to this investigation, communications
22   with others who have personal knowledge of the events and circumstances
23   described herein, and information gained through my training and experience.
24   Because this affidavit is submitted for the limited purpose of establishing probable
25   cause, it does not set forth each and every fact that I or others have learned during
26   the course of this investigation.
27

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 1                     BACKGROUND REGARDING GOOGLE
 2         5.     Google is a corporation that provides Internet services worldwide.
 3   Google's electronic mail service allows Internet Service Provider (ISP) subscriber
 4   to communicate with other ISP subscribers and with others through the Internet vi
 5   email communication and instant messaging. ISP subscribers access Google service
 6   through the Internet.
 7         6.     Subscribers to Google use screen names during communications wit
 8   others. The screen names may or may not identify the real name of the person usin
 9   a particular screen name. Although Google requires users to subscribe for a fre
1O account, Google does not verify the information provided by the subscriber for it
11   free services. At the creation of a Google account and for each subsequent access t
12   the account, Google logs the Internet protocol (IP) address of the computer accessin
13   the account. An IP address is a unique address through which a computer connect
14   to the Internet. IP addresses are leased to businesses and individuals by ISPs.
15   Obtaining the IP addresses that have accessed a particular Google account ofte
16   identifies the ISP that owns and has leased that address to its customer. Subscribe
17   information for that customer then can be obtained using appropriate legal process.
18         7.     An Internet protocol address or "IP address," is expressed as fou
19   groups of numbers separated by decimal points and/or eight groups of number
20   separated by colons, and is unique to a particular subscriber account during an onlin
21   session. The IP address provides a unique location making it possible for data to b
22   transferred between computers. IP addresses can be dynamic, meaning that the IS
23   assigns a different number to a computer every time it accesses the Internet. I
24   addresses might also be static, if an ISP assigns a user's computer a particular I
25   address that is used each time the computer accesses the Internet. Internet companie
26   such as Google typically log the IP address used by its subscribers to access Google
27

                                               3
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 1   such as email, chat, and instant messagmg. These logs are available to la
 2   enforcement using appropriate legal process.
 3           8.    An IP address is a unique address through which a computer connect
 4   to the Internet. IP addresses are leased to businesses and individuals by ISPs.
 5   Obtaining the IP addresses that have accessed a particular Google account ofte
 6   identifies the ISP that owns and has leased that address to its customer. Subscribe
 7   information for that customer can then be obtained using appropriate legal process.
 8                     FACTS IN SUPPORT OF PROBABLE CAUSE
 9           9.    On or about October 27, 2018, Homeland Security Investigation
1O (HSI), Special Agent in San Diego, California began communicating with a
11   individual on the chatting platform known as Omegle. 1 During the communication
12   the HSI Special Agent, acting in an undercover capacity and posing as a 12-year-ol
13   female from Eastlake, California (UC agent), responded to an individual onlin
14   identifying himself as "Colin." During the course of the communications, "Colin'
15   communicated with the UC using the email address emraldmonth@gmail.co
16   (Target Account) and the moniker "Cory O'Hoole." As detailed below, "Colin'
17   aka "Cory O'Hoole" has been identified as Cory Alan ELGIN.
18           10.   On October 27, 2018, ELGIN initiated communication with the U
19   through the Omegle chatting platform, and the following conversation transpire
20   with the online UC agent. In the following synopsis of the Omegle communicatio
21   chat, ELGIN aka "Colin" is identified as "CE" and the UC agent is identified a
22   "UC":
23
     1
24     OMEGLE is a free online chat platform that allows users to anonymously chat with one another.
     OMEGLE matches individuals in a private chat setting sometimes based off of key similarities o
25   keywords. On the OMEGLE platform both individuals can chat anonymously about any topic.
     On some occasions individuals chatting on OMEGLE can exchange contact information to furthe
26
     the communication off of the OMEGLE platform and onto other forms of communications sue
27   as E-mail and phone communication.

                                                    4
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 1
 2
 3           CE                                      Hey, 28m
 4           UC                                      Hi hi
 5                                                   12/f/Eastlake 12
 6
             CE                                      Oh, cool. How are you?
 7
             UC                                      I'm cool bored nu?
 8
             CE                                      Really bored too. I'm Colin, Whats
 9                                                   your name?
10
             UC                                      I'm ari. Wuts ur name ?
11
             CE                                      Colin
12
                                                     It's nice to meet you. I'm glad you
13                                                   don't mind my age.
14           UC                                      Yea idc about ur age. Do u care
15                                                   about mine?

16           CE                                      Not in a bad way. I actually like
                                                     girls your age. They're cute.
17
18           UC                                      Hahaha well idk about the rest of
                                                     them but I know im cute( emoji)
19
                                                     What's ur name
20
             CE                                      Haha! I am lucky then.
21
                                                     I've said it twice silly.
22
23                                                   My name is Colin

24           UC                                      Ooo hahaha I thought u wur saying
                                                     Coolin hahahah a
25
26
     2
       On OMEGLE, initial communications typically begin with the user indicating age, sex, an
27   location.

                                                 5
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 1      CE                                 Hahaha. Silly girl. You are right,
                                           you're totally cute.
 2
                                           Do you have a boyfriend?
 3
 4      UC                                 (Emoji)

 5                                         And no I don't

 6                                         U have a girlfriend?
 7      CE                                 I kind of want to see if you could
 8                                         be my girlfriend.

 9      UC                                 Me!!? Hahaha but I don't even
                                           knowu yet
10
        CE                                 I mean, yes, I know. But I want to
11
                                           get to know you.
12
        UC                                 Ooo okay (Emoji)
13
        CE                                 But like, while I do, I want you to
14                                         know that I want to try dating you.
15                                         If that's not too much.

16      UC                                 Haha no that's not to much
17                                         U live in Eastlake?
18      CE                                 Okay. Good
19                                         And, I don't. But it wouldn't be
20                                         hard to get over there.

21                                         I'm like 20 mins away, by car.
22      UC                                 Oooo okay hahaha cause obvious I
                                           can't drive yet hahaha
23
24      CE                                 Yes, of course, baby. I can always
                                           come to you. Do you ever get to
25                                         hang out anywhere I could meet
26                                         you for dates?

27

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 1      UC                                 I walk to the park sometimes after
                                           school
 2
 3      CE                                 See, that'd be perfect. We could
                                           just find somewhere to hang out
 4                                         and talk. Or kiss :)
 5      UC                                 (Emoji). What else?
 6
        CE                                 I'd love to try everything with you.
 7
                                           Have you kissed a boy?
 8
        UC                                 Yea I have haha duh. N whats
 9                                         everything?
10                                         Haha
11
        CE                                 I want to fuck you. Not just once,
12                                         but a lot. In a lot of different ways.
13      UC                                 Hahaha idk though I still have my
14                                         v card. My friend says it hurts the
                                           first time
15
        CE                                 I wouldn't rush you to lose it. I am
16                                         pretty thin though, so it wouldn't
17                                         hurt to bad

18                                         Do you have kik or snap we can
                                           talk on?
19
        UC                                 Hmm okay that make me feel
20
                                           better cause I don't want it to hurt
21
                                           Smh no my mom wont tell me the
22                                         psswrd go apple store so I can't
23                                         download any apps. She don't want
                                           me to have them
24
        CE                                 No, I am really wanting to make it
25                                         feel good for you. It will.
26
        UC                                 Hmmmm okay haha
27

                                       7
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 1          CE                                 So, how am I supposed to talk to
                                               you after today? :(
 2
 3          UC                                 Hmm idk.. I have a i phone ..

 4          CE                                 Would you give me your number?
                                               Or do you want to agree to meet
 5                                             first and exchange numbers there?
 6
            UC                                 Hmm I guess I can give you my
 7                                             number. U seem cool n safe
 8          CE                                 I'd like that. I don't want to hurt
 9                                             you, just make you feel good. But
                                               if you aren't sure, you don't have
10                                             to give it right now
11          UC                                 Well it's up to you. If you want it
12                                             III give u my number

13          CE                                 I want it
14          UC                                 Lol okay its 6193029219
15                                             Ima prob get off of here soon
16                                             anyway

17          CE                                 Okay, I'll text you until you want
                                               to go. Then over the phone
18
           UC                                  Okay (Emoji)
19
20                                             Is that u that just text me? 0850?

21          CE                                 Yep.

22         UC                                  Okay (Emoji)
23
24
           11.   The UC received a text message from phone number 951-723-0850.
25   Based upon records checks, agents identified this phone number as belonging t
26   ELGIN. Communications between the UC and ELGIN continued on October 27
27

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 1   2018, through text message. During the course of those communications, the U
 2   reiterated "she" had not had her first period and did not have "boobs." In response
 3   ELGIN stated "I'm glad. I want to suck on your nipples and make them hard," an
 4   "Also, that means we don't have to wear a condom and Daddy can cum in you a
 5   much as he likes."
 6          12.   ELGIN texted the UC on the morning of October 28, 2018, an
 7   communications continued thereafter through November 1, 2018.
 8   communications between the UC and ELGIN on October 29, 2018,
 9   attempted to send pictures of himself. When the pictures would not go through o
10   text message, ELGIN asked the UC for an email address. Shortly thereafter, the U
11   received a picture of an adult male from Target Account. The user of the Targe
12   Account also sent the UC agent a picture of an erect male penis being held by on
13   hand. Agents at that time were unable to confirm the Target Account belonged t
14   ELGIN. However, agents compared the photo sent of the adult male with ELGIN'
15   driver's license photo and confirmed it appeared to be the same individual.
16          13.   The conversation between ELGIN and the UC continued through bot
17   text messages and email from the Target Account, with ELGIN telling the UC h
18   would like to meet "her" in person and engage in sexual acts with "her." ELG
19   asked the UC about meeting on Thursday (i.e. November 1st), and a discussio
20   ensued about where they could meet. The UC told ELGIN "she" was a student an
21   lived in the Eastlake area of San Diego. ELGIN and the UC made plans to meet o
22   November 1, 2018, near the Eastlake Mall, in Otay Mesa, California, within th
23   Southern District of California, around 5:00 p.m. On Thursday, November 1, 2018
24   at 8:40 a.m., ELGIN texted the UC regarding what he would want to do when the
25   met:
26
27

                                              9
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 1
 2     ELGIN                  I am going to kiss you today
                              And while we're eating ice cream, I'm going to let you
 3
                              sit on my lap and I'm going to put my hands in your
 4                            pants to play with your pussy.
                              And I'm going to let you lick and play with my cock if
 5                            you can.
 6                            I wish we even had a spot to have sex, because I want
                              you so badly. I don't need to be reminded of how much
 7
                              I want ou.
 8         14.    Agents conducted surveillance at the Jack-in-the-Box Restauran
 9   located near the Eastlake Mall prior to the planned meeting time. At approximate!
10   4:30 p.m., Agents observed an individual matching the description of ELGIN arriv
11   to the meeting location. The UC agent and ELGIN had a conversation through tex
12   in which the UC agent informed ELGIN that the UC agent would be "at the jack
13   the box". Surveillance agents observed an individual matching the description o
14   ELGIN walking to the Jack in the Box. Agents identified themselves and placed th
15   individual, who was identified as ELGIN, under arrest.
16         15.   Incident to ELGIN's arrest on November 1, 2018, agents seized tw
17   cellular phones from ELGIN's possession. The UC agent placed a call from the U
18   cell phone to the phone number 951-723-0850. Agents observed one of the cellula
19   phones seized from ELGIN, a Black Pixel 3 Google Cellular Phone, begin to rin
20   and display the UC phone number.
21         16.   ELGIN was advised of his Miranda rights. He waived those rights an
22   made a statement. ELGIN admitted he had been texting with a girl who appeared t
23   be 12-years-old, and admitted that most of the conversations were sexual. ELGI
24   admitted that he sent a picture of his penis and his face during the communications.
25   ELGIN told agents, however, that he suspected the person he was communicatin
26   with was law enforcement and went forward with the meeting as a way of gettin
27

                                              10
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 1   help. ELGIN told agents he possessed "hardcore" videos of children, who h
 2   believed to be six or seven-years-old, at his residence. ELGIN also admitted h
 3   previously "had a relationship" with a 12-year-old minor female who lives in Ne
 4   Hampshire, which ended in May of 2018. ELGIN stated that he utilized onlin
 5   services, such as Skype (a telecommunications application software product tha
 6   provides video chat and voice calls between computers, tablets, and other mobil
 7   devices), to communicate with the minor. ELGIN was arrested and charged wit
 8   violation of 18 U.S.C. § 2422(b).
 9         17.       ELGIN consented in writing to a search of his residence, located i
10   Imperial Beach, California. Agents went to the residence and located a lapto
11   computer and another cellular phone. Agents seized these items from the residenc
12   pursuant to ELGIN's written consent on November 1, 2018. The items wer
13   transported to the HSI Offices at 880 Front Street, Suite 3200, San Diego, CA, an
14   remain at that location.
15         18.       Agents obtained a warrant to search all of the items seized fro
                 '
16   ELGIN's person and residence on the date of his arrest. Upon forensic examinatio
17   of the Black Pixel 3 Google Cellular Phone, agents found the Target Account wa
18   one of the email address associated with the phone. Forensic analysis of th
19   remaining seized items is ongoing.
20         19.       As a result of my training and experience in child sexual exploitatio
21   and child pornography investigations, and the training and experience of other la
22   enforcement officers with whom I have had discussions, there are certai
23   characteristics common to individuals involved in the sexual exploitation o
24   children:
25                   a.    Individuals who sexually exploit children may receive sexua
26   gratification, stimulation, and satisfaction from contact with children; or fro
27   fantasies they may have viewing children engaged in sexual activity or in sexuall

                                                11
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 1   suggestive poses, such as in person, in photographs, or other visual media; or fro
 2   literature describing such activity.
 3                b.     Individuals who sexually exploit children may collect sexuall
 4   explicit or suggestive materials and oftentimes use these materials for their o
 5   sexual arousal and gratification. Furthermore, they may use these materials to lowe
 6   the inhibitions of children they are attempting to seduce, to arouse the selected chil
 7   partner, or to demonstrate the desired sexual acts. Many of these communication
 8   are done online via email or instant messaging.
 9                c.     Individuals who sexually exploit children almost always posses
1O and maintain their child pornographic material and other images of children used i
11   their sexual exploitation, that is, their pictures, films, videos, correspondence
12   mailing lists, etc., in the privacy and security of their home or secure online accounts.
13   These individuals typically retain this information for many years.
14                d.     Likewise, individuals who sexually exploit children ofte
15   maintain their child pornography, other images of children, and discussions abou
16   the sexual exploitation of children in a safe, secure and private environment, such a
17   an online account, computer, cellular phone, or in their residence. These collection
18   are often maintained for several years and are kept accessible, to enable the collecto
19   to view this material, which is valued highly.
20                e.     Individuals who sexually exploit children often correspond wit
21   and/or meet others to share information and materials; are rarely able to complete!
22   destroy correspondence from other child pornography distributors/collectors;
23   conceal correspondence as they do their sexually explicit material; and ofte
24   maintain lists of names, addresses, and telephone numbers of individuals with who
25   they have been in contact and who share the same interests in child pornography o
26   the sexual exploitation of children.
27

                                                12
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  1                    f.    Individuals who sexually exploit children prefer not to b
  2   without their child pornography and other images of children for any prolonged tim
  3   period. Storage of this content in email accounts or cloud-based storage account
  4   gives the offender the ability to access it from any computer.
  5                    g.    Oftentimes, individuals who sexually exploit children wil
  6   download and store images and communications of children they know or wit
  7   whom they have communicated.               These images many not necessarily b
  8   pornographic or obscene in nature, however they are often used for their own sexua
  9   gratification.
 1O            20.     Email and social media users, to include individuals who sexuall
 11   exploit children, often save online messages for extended periods of time. Thi
 12   information is usually saved automatically for the convenience of users. During th
 13   course of my investigative duties, I have reviewed dozens of email and social medi
 14   accounts, many of which contain messages that date back to the creation of th
 15   account.       Furthermore, online users communicating with other like-minde
 16   individuals often save messages so they can keep track of communications and easil
 17   re-contact each other.
 18            21.     Based on the foregoing information, there is reason to believe evidenc
 19   and instrumentalities pertaining to violations of 18 U.S.C. §§ 2252, 2252A, an
 20   2422(b ), may exist in the Target Account. Specifically, the Target Account wa
 21   used by ELGIN to communicate with a UC who he believed to be a 12-year-ol
122   minor female, and to send a photo of his erect penis. Based on ELGIN's post-arres
 23   statements, that that he had previously engaged in communications with another 12
 24   year-old in New Hampshire, and that he possessed "hardcore" videos of youn
 25   children, I submit it is reasonable to believe such evidence may exist within th
 26   Target Account.
 27   II

                                                   13
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 1      PROCEDURES FOR ELECTRONICALLY STORED INFORMATION
 2
           22.    Federal agents and investigative support personnel are trained an
 3
     experienced in identifying communications relevant to the crimes unde
 4
     investigation. The personnel of Google (hereinafter "the internet service provider'
 5
     or "the ISP") are not. It would be inappropriate and impractical for federal agents t
 6
     search the vast computer network of the ISP for the relevant accounts and then t
 7
     analyze the contents of those accounts on the premises of the ISP. The impact on th
 8
     ISP's business would be severe.
 9
           23.    Therefore, I request authority to seize all content, including electroni
10
     mail and attachments, stored instant messages, stored voice messages, photographs
11
     and any other content from the ISPs accounts, as described in Attachment B. In orde
12
     to accomplish the objective of the search warrant with a minimum of interferenc
13
     with the business activities of the ISP, to protect the privacy of the ISP's subscriber
14
     whose accounts are not authorized to be searched, and to effectively pursue thi
15
     investigation, Homeland Security Investigations seeks authorization to allow the IS
16
     to make digital copies of the entire contents of the accounts subject to seizure. Th
17
     copies will be provided to me or to any authorized federal agent. The copies will b
18
     imaged and the images will then be analyzed to identify communications and othe
19
     electronic records subject to seizure pursuant to Attachment B. Relevant electroni
20
     records will be copied to separate media. The original media will be sealed an
21
     maintained to establish authenticity, if necessary.
22
           24.    Analyzing the data to be provided by the ISP may require specia
23
     technical skills, equipment, and software. It may also be very time-consuming.
24
     Searching by keywords, for example, often yields many thousands of "hits," each o
25
     which must be reviewed in its context by the examiner to determine whether the dat
26
     is within the scope of the warrant. Merely finding a relevant "hit" does not end th
27

                                                14
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 1   review process. Keyword searches do not capture misspelled words, reveal the us
 2   of coded language, or account for slang. Keyword searches are further limited whe
 3   electronic records are in or use foreign languages. Certain file formats also do no
 4   lend themselves to keyword searches. Keywords search text. Many commo
 5   electronic mail, database and spreadsheet applications, which files may have bee
 6   attached to electronic mail, do not store data as searchable text. Instead, such data i
 7   saved in a proprietary non-text format. And, as the volume of storage allotted b
 8   service providers increases, the time it takes to properly analyze recovered dat
 9   increases dramatically. The ISP does not always organize the electronic files the
1O provide chronologically, which makes review even more time consuming and ma
11   also require the examiner to review each page or record for responsive material.
12          25.       Based on the foregoing, searching the recovered data for th
13   information subject to seizure pursuant to this warrant may require a range of dat
14   analysis techniques and may take weeks or even months. Keywords need to b
15   modified continuously based upon the results obtained and, depending on th
16   organization, format, and language of the records provided by the ISP, examiner
17   may need to review each record to determine if it is responsive to Attachment B. Th
18   personnel conducting the examination will complete the analysis and within ninet
19   (90) days of receipt of the data from the service provider, absent further applicatio
20   to this court.
21          26.       Based upon my experience and training, and the experience and trainin
22   of other agents with whom I have communicated, it is necessary to review and seiz
23   all electronic communications that identify any users of the subject account(s) an
24   any electronic mails sent or received in temporal proximity to incriminatin
25   electronic mails that provide context to the incriminating mails.
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 1         27.    All forensic analysis of the imaged data will employ search protocol
 2   directed exclusively to the identification, segregation and extraction of data withi
 3   the scope of this warrant.
 4                PROCEDURES TO PROTECT THIRD PARTY PRIVACY
 5         28.    All forensic analysis of the imaged data will employ search protocol
 6   directed exclusively to the identification and extraction of data within the scope o
 7   this warrant. In the event that the personnel lawfully conducting the analysis identif
 8   information pertaining to crimes outside the scope of the warrant such informatio
 9   will not be used in any way except to obtain a new warrant authorizing a search fo
1O such information. In the event a new warrant is obtained, the government may mak
11   use of the data seized in any lawful manner. Absent a new warrant, the personne
12   conducting the analysis may continue to search and seize data only within the scop
13   of this warrant.
14                GENUINE RISKS OF DESTRUCTION OF EVIDENCE
15         29.    Based upon my experience and training, and the experience and trainin
16   of other agents with whom I have communicated, electronically stored data can b
17   permanently deleted or modified by users possessing basic computer skills. In thi
18   case, if the subject receives advance warning of the execution of this warrant, ther
19   will there be a genuine risk of destruction of evidence. However, that risk i
20   mitigated because a preservation request was submitted to Google Inc. o
21   November 19, 2018 for the Target Account.
22                PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
23         30.    Other than as described above, the United States has not attempted t
24   obtain this data by other means.
25                                      CONCLUSION
26         31.    Based on the foregoing, there is probable cause to believe items tha
27   constitute evidence and instrumentalities of violations of federal criminal law

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 1   namely, 18 U.S.C. §§ 2252, 2252A, and 2242(b ), as described in Attachment B, wil
 2   be found at the location to be searched, as provided in Attachment A.
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                                                            reme
 6
                                                   Special Agent
 7                                                 Homeland Security Investigations
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     Subscribed and sworn before me this _,,_J/3~- day of December, 2018.
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13                                            ited States Magistrate Judge
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 1                                 ATTACHMENT A
 2             DESCRIPTION OF LOCATIONS TO BE SEARCHED
 3         Google, LLC (Google) is an American multinational technology compan
 4   with its primary computer information systems and other electronic communication
 5   and storage systems, records and data located at 1600 Amphitheatre Parkway,
 6   Mountain View, CA 94043. The property to be searched is the Google accoun
 7   associated with the following email address:
 8               a.emraldmonth@gmail.com (Target Account)
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 1                                    ATTACHMENT B
 2   I.      Service of Warrant
 3                 The officer executing the warrant shall permit Google LLC, as
 4   custodian of the computer files described in Section II below, to locate the files
 5   and copy them onto removable electronic storage media and deliver the same to
 6   the officer. Notwithstanding the provisions of 18 U.S.C. §§ 2252 and 2252A,
 7   Google shall disclose responsive data, if any, by delivering encrypted files through
 8   their Law Enforcement Request (LER) system.
 9   II.     Information to be disclosed by Google, LLC (Google)
1O           Items subject to seizure include all subscriber and/or user information, al
11   electronic mail, images, message, histories, buddy lists, profiles, address books, cha
12   logs, methods of payment, detailed billing records, Internet Protocol (IP) logs
13   transactional data and any other files associated with the following Google emai
14   account from January 1, 2017 to the present:
15                 Email Account:      ernraldmonth@gmail.com (Target Account).
16   III.          Information to be seized by the government
17           The search of the data supplied by Google pursuant to this warrant will b
18   conducted as provided in the "Procedures for Electronically Stored Information" o
19   the affidavit submitted in support of this search warrant and will be limited to seizin
20   electronic mail and attachments that are evidence of violations of 18 U.S.C. §§ 2252
21   2252A, and 2422(b) for the period of January 1, 2017, to the present, and to th
22   seizure of:
23                 a.     Communications, records, and attachments tending to discuss o
24           establish the sexual interest in children and/or the possession and distributio
25           of child pornography, and/or efforts to employ, use, persuade, induce, entice
26           or coerce a minor to   en~age   in sexual activity for which any person can b
27           charged with a criminal offense;
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 1               b.     Communications, records, and attachments tending to identif
 2         the user of the account and any co-conspirators involved in the activities i
 3         III( a) above; and
 4               c.     Communications, records, and attachments that provide contex
 5         to any communications described above, such as electronic mail sent o
 6         received in temporal proximity to any relevant electronic mail
 7         electronic mail tending to identify users of the subject accounts;
 8   Which are evidence of violations of 18 U.S.C. §§ 2252, 2252A, and 2422(b).
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